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                          IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF MISSISSIPPI
                                    OXFORD DIVISION

DONALD L. MCVEY                                                              PLAINTIFF

V.                                                            CASE NO. 3:15CV097-GHD-SAA

THE GREAT AMERICAN HOME STORE II, INC.
AND VICK L. ETHERIDGE, Individually                                          DEFENDANTS

                                NOTICE OF SERVICE OF
                             RULE 26(a) INITIAL DISCLOSURES


         Notice is hereby given that Defendants, The Great American Home Store II, Inc. and

Vick L. Etheridge, have this date served in the above-entitled action:

         Defendants’ Initial Disclosures.

         Further, notice is hereby given that the original of said pleading is being retained in our
file.

         THIS, the 3rd day of November, 2015.

                                                      Respectfully submitted,

                                                      THE GREAT AMERICAN HOME STORE
                                                      II, INC. AND VICK L. ETHERIDGE,
                                                      Individually

                                                      By Its Attorneys,
                                                      JONES WALKER LLP

                                                      By: /s/Lindsay Thomas Dowdle
                                                          Lindsay Thomas Dowdle
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 3rd day of November, 2015 a true and correct copy of
the above and foregoing pleading was served upon the Plaintiff by filing the same in this Court’s
CM/ECF system as follows:

               Christopher W. Espy, Esq.
               Morgan & Morgan
               188 E. Capitol Street, Ste. 777
               Jackson, MS 39201

                                                     /s/ Lindsay Thomas Dowdle
                                                     Lindsay Thomas Dowdle




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